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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA


 WILLIAM SCOTT CAMERON,                          )        NON-PARTY MICHAEL BASS'
                                                 )       MOTION TO QUASH SUBPOENA
                      Plaintiff,                 )          WITH INCORPORATED
 vs.                                             )         MEMORANDUM OF LAW
                                                 )          Fed. R. Civ. P. 45(d), 26(b)
 THE UNIVERSITY OF NORTH CAROLINA                )
 AT CHARLOTTE, et al.                            )
                                                 )     Underlying Action No.:
                      Defendants.                )     3:19-cv-221-MOC-DCK (W.D.N.C.)

        NOW COMES non-party Michael Bass, by and through counsel, and respectfully moves

 this Court to quash the subpoena issued to AT&T Wireless Custodian of Records in the above

 captioned action, pursuant to Fed. R. Civ. P. 45(d) and 26(b). The subpoena must be quashed

 because it requires the disclosure of privileged or otherwise protected matters and seeks

 information beyond the scope of discovery.

        Granting the relief requested herein would prevent the non-party AT&T Wireless

 Custodian of Records from disclosing the personal, confidential, protected phone records of

 another non-party, Michael Bass—which phone records are irrelevant in the underlying action.

                                      INTRODUCTION

        This lawsuit is between Plaintiff William Scott Cameron and University of North

 Carolina at Charlotte (“UNCC”) and eight of its officers and employees. Plaintiff brought this

 lawsuit because he was suspended from his college tennis team for allegedly bullying a

 teammate, Michael Bass. Mr. Bass, the alleged victim of Plaintiff’s bullying, is not a party to

 this action and would prefer not to be involved. Publicity regarding this lawsuit has subjected

 him to personal embarrassment. Notwithstanding his frustration, Mr. Bass has cooperated in the

 discovery process. To date, he has (1) provided a sworn declaration, (2) complied with a
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 subpoena duces tecum by producing his cell phone text messages related to the case, and (3)

 voluntarily agreed to schedule a deposition.

         Apparently, that is not enough for the Plaintiff. Plaintiff has now subpoenaed AT&T to

 obtain the production of Michael’s personal cell phone records and text messages for the past

 three years.     Notably, this subpoena is not narrowly tailored to be limited to specific

 communications with parties to the lawsuit. Its breadth is unlimited and would sweep up Mr.

 Bass’ text messages with friends, family, girlfriends, and other individuals unrelated to the

 lawsuit.    This gross over-reach is an obvious attempt to harass Mr. Bass and obtain

 communications, unrelated to the case, involving Mr. Bass and many other individuals who are

 not involved in the case. Though one would hope that this type of over-reach would not occur in

 a case about bullying, it has. This Court should end it.

                                         BACKGROUND

         The current iteration of this lawsuit was initiated in North Carolina state court on March

 22, 2019. [DE 1.] Plaintiff’s counsel sent Mr. Bass—a non-party—a letter, also dated March 22,

 2019. Ex. 1. The letter requested that Michael execute a pre-made declaration which was

 enclosed. Id. The letter also stated, “If you are unwilling to execute a declaration, however, I

 will be forced to issue a subpoena to compel your attendance of a deposition.” Id. at 1.

         Michael did not execute that declaration because it contained inaccuracies. He did,

 however, obtain counsel. The case was removed to the Western District of North Carolina, and

 Michael later provided a sworn and executed declaration that set down his experiences with the

 parties to the litigation.

         Plaintiff issued Michael a subpoena on June 22, 2020. Ex. 2. That subpoena commanded

 the production of: “All communications” between (1) Michael and Plaintiff; (2) Michael and


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 defendant Jeremy Feldman; (3) Michael and “any representative or employee” of UNCC “related

 to allegations of bullying,”; (4) Michael and “any third party . . . related to or describing the

 allegations of bullying,”; (5) Michael and “any representative or employee” of UNCC relating to

 his own suspension from the UNCC tennis team, as well as (6) “All documents or electronically

 stored information memorializing, regarding, or reflecting the allegations of bullying.” Id. at 4-

 5. It sought all these communications and documents for over a three-year period. Id.

        This subpoena required compliance by July 20, 2020. Id. at 1. Michael timely responded

 to the subpoena.     Ex. 3.   He provided a twenty-nine page production which included his

 declaration and substantive communications in the form of text messages and screenshots of

 conversations related to the allegations in this case.1

        Though Michael is attending school and working at an internship, he agreed to make

 himself available for a November 14 deposition by Zoom videoconference. Ex. 4. at 4, 5.

 Plaintiff’s counsel responded that Michael’s “deposition needs to be in person,” and must be

 “prior to November 14.” Id. at 3, 4. No valid rationale was given for these demands, see id.2,

 despite Magistrate Judge Keesler’s Order of June 4, 2020 requiring completion of discovery by

 November 25, 2020, and “direct[ing]” Plaintiff’s lead counsel to “accomplish as much discovery

 as possible remotely.” [DE 66 at 2.]

        A teleconference regarding discovery disputes between the parties occurred before

 Magistrate Judge Keesler on September 28, 2020, and an order issued—again—directing the

 discovery to be complete by November 25, 2020, and requiring depositions to be conducted



 1
   Available for in camera review upon request.
 2
   See also id. at 2 (noting surprise “that, in a case where one of the primary issues is whether
 your client bullied my client, you would reject my client’s offer of cooperation on his deposition
 and instead seek to unilaterally force a deposition schedule and deposition conditions upon him
 that are not workable for our side.”).
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 remotely. [DE 84.] In compliance with this newest order, Plaintiff’s counsel agreed to depose

 Michael remotely on November 14, 2020. Ex. 4 at 1.

         On the same day Magistrate Judge Keesler issued that order, Plaintiff served a notice of

 intent to serve a subpoena. Ex. 5. The attached subpoena commands Michael’s cell phone

 service provider to produce:

         1. A record of all incoming and outgoing calls and the duration of each call for the
         phone number (336)509-3928 for the period of July 1, 2017 to September 1, 2020.
         2. A record of all incoming and outgoing text messages for the phone number
         (336)509-3928 for the period of July 1, 2017 to September 1, 2020.3

 Ex. 6 at 4. This subpoena (the “AT&T Subpoena”) is directed to the AT&T Wireless Custodian

 of Records in North Palm Beach, Florida, and requires production by “October 19, 2010 [sic].”

 Id. at 1.

         Michael has simultaneously moved to quash the subpoena in the district of the

 subpoena’s compliance, to transfer the motion to quash to the issuing court, and for a protective

 order in the issuing court.

                                       LEGAL STANDARD

         The Court for the district where compliance with a subpoena is required “must quash or

 modify” subpoenas which “require[] disclosure of privileged or other protected matter, if no

 exception or waiver applies.” Fed. R. Civ. P. 45(d)(3)(A)(iii).      Moreover, although Rule 45

 does not identify irrelevance or overbreadth as reasons to quash a subpoena, “the scope of

 discovery under a subpoena is the same as the scope of discovery under Rule 26.” Am. Fed'n of

 State, Cty. & Mun. Employees (AFSCME) Council 79 v. Scott, 277 F.R.D. 474, 476 (S.D. Fla.

 2011) (compiling cases); accord Jordan v. Comm'r, Mississippi Dep't of Corr., 947 F.3d 1322,

 3
  Plaintiff’s counsel subsequently has asserted in meet and confer conversations that they seek
 only a log of phone calls and text messages, and not the content of text messages; however, the
 subpoena does not make that clear and reads far more broadly.
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 1329 n.4 (11th Cir. 2020). “Thus, a subpoena issued under Rule 45 should be quashed to the

 extent it seeks irrelevant information.” Jordan, 947 F.3d at 1329.

                                          ARGUMENT

        I.      Michael’s Privacy Interest in His Cell Phone Records Afford Standing to
                Challenge this Subpoena

        The general rule is that “an individual does not have standing to challenge a subpoena

 served on another, except when that individual has a personal right or privilege with respect to

 the matter of the subpoena.” Gabriel v. G2 Secure Staff, LLC, 225 F. Supp. 3d 1370, 1372 (S.D.

 Fla. 2016) (citing Barrington v. Mortgage IT, Inc., 2007 WL 4370647 (S.D. Fla. 2007)); see also

 Lauderhill Mall Inv., LLC v. Arch Specialty Ins. Co., No. 14-CV-21003-BB/AOV, 2014 WL

 11906637, at *2 (S.D. Fla. July 29, 2014). Some courts within the Eleventh Circuit apply a

 “somewhat broader” rule, finding that “standing exists if the party alleges” such a right or

 privilege. Auto-Owners Ins. Co. v. Se. Floating Docks, Inc., 231 F.R.D. 426, 429 (M.D. Fla.

 2005) (quoting Brown v. Braddick, 595 F.2d 961, 967 (5th Cir. 1979); accord, e.g., Meide v.

 Pulse Evolution Corp., No. 3:18-CV-1037-J-34MCR, 2019 WL 1518959, at *5 (M.D. Fla. Apr.

 8, 2019). This rule applies to parties and non-parties alike. Equal Employment Opportunity

 Comm'n v. Sirdah Enterprises, Inc., No. 113CV03657RWSRGV, 2015 WL 12630686, at *4 n.8

 (N.D. Ga. Feb. 25, 2015) (citing Pleasant Gardens Realty Corp. v. H. Kohnstamm & Co., Civil

 No. 08-5582(JHR/JS), 2009 WL 2982632, at *4–5 (D. N.J. Sept. 10, 2009)); see also

 Terwillegar v. Offshore Energy Servs., Inc., No. CIV.A. 07-01376, 2008 WL 2277879, at *3

 (E.D. La. May 29, 2008) (granting motion to quash filed by non-party).

        Here, Michael has standing to challenge the AT&T Subpoena under either standard

 because he has a personal right or privilege in the cell phone records which are the target of the

 AT&T Subpoena. This personal interest in cell phone records held in the custody of a cellular


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 telephone company has been recognized for more than twenty years. See Syposs v. United

 States, 181 F.R.D. 224, 229 (W.D.N.Y. 1998) (“Defendant and Dr. Meyers have standing to

 assert Dr. Meyers's legitimate confidentiality interests in the subpoenaed records . . .”). And the

 fact that these records are unprivileged is of no consequence because the Rule, by its text, applies

 to privileged disclosures as well as “other protected matter.” Fed. R. Civ. P. 45(d)(3)(A)(iii).

 The protection afforded by the Rule “extends beyond the strict bounds” of privilege to other

 protected matters. Jordan, 947 F.3d at 1336.

        Federal courts around the country have held that, in the context of subpoena challenges,

 individuals have a personal interest in their own cell phone records which is sufficient to give

 them standing to challenge a subpoena seeking those records. See Shamblin v. Obama for Am.,

 No. 8:13-CV-2428-T-33TBM, 2014 WL 12616864, at *1 (M.D. Fla. June 16, 2014) (“I conclude

 that Defendant demonstrates a sufficient personal interest in the records related to its outgoing

 calls to permit its challenge to the subpoenas.”); see also, e.g., Winter v. Bisso Marine Co., No.

 CIV.A. 13-5191, 2014 WL 3778833, at *1 (E.D. La. July 29, 2014) (finding plaintiff “has

 standing to object to defendant's subpoena to Verizon because he has a personal interest in the

 records of his own cell phone usage.”); Ademiluyi v. Phillips, No. 2:14-CV-00507-MMD, 2014

 WL 7012493, at *2 (D. Nev. Dec. 12, 2014) (finding that a non-party “does have a personal

 interest in securing the privacy of his cell phone records” and accordingly finding he had

 standing to challenge subpoenas issued to non-party T-Mobile). Indeed, at least one court has

 found that a plaintiff had standing to challenge a subpoena stemming from her personal interest

 in both her cell phone records and those of her husband. Clark v. Johnson, No. 14-CV-582-JED-

 PJC, 2015 WL 4694045, at *2 (N.D. Okla. Aug. 6, 2015) (“Because Clark has a personal interest




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 in the privacy of her and her husband's cell phone records, she has standing to challenge the

 subpoenas issued by Valley Forge.”).

        Like in each of the cases above, Michael is seeking to challenge a subpoena issued to a

 non-party that will cause disclosure of his personal cell phone records. As such, the privacy

 interests and confidentiality concerns implicated in this case are of precisely the same type which

 courts have considered in the past. This Court should join those cited above in finding an

 individual’s privacy interest and concerns of confidentiality confer standing to challenge a

 subpoena aimed at procuring those personal records.

        II.     The Subpoena Seeks Protected Matter and Is Due to Be Quashed

        For the same reasons that Michael has standing to bring this motion, the AT&T Subpoena

 should be quashed. Rule 45 of the Federal Rules of Civil Procedure requires that a Court quash

 or modify a subpoena requiring the disclosure of “other protected matters.”           The AT&T

 Subpoena commands production of “[a] record of all incoming and outgoing calls and the

 duration of each call,” as well as “[a] record of all incoming and outgoing text messages,” for

 Michael’s personal cell phone number for the period of July 1, 2017, to September 1, 2020.4 Ex.

 6 at 4. As discussed above, in seeking these vast and personal cell phone records, the AT&T

 Subpoena seeks protected matters and is subject to being quashed.



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   To whatever extent these facially overbroad requests seek the substantive contents of Michael’s
 communications, the Stored Communications Act (“SCA”), 18 U.S.C. 2701-2712 prohibits
 AT&T from disclosing those contents. Specifically, the SCA provides that subject to certain
 enumerated exceptions, an “entity providing an electronic communication service to the public
 shall not knowingly divulge to any person or entity the contents of a communication while in
 electronic storage by that service.” 18 U.S.C. § 2702(a)(1). Importantly, “[t]he SCA does not
 contain an exception for civil discovery subpoenas.” Mintz v. Mark Bartelstein & Assocs., Inc.,
 885 F. Supp. 2d 987, 991 (C.D. Cal. 2012). As a result, courts have rejected the argument that
 the SCA permits the disclosure of the contents of communications pursuant to a civil discovery
 subpoena. See, e.g., Crispin v. Christian Audigier, Inc.,717 F.Supp.2d 965, 976 (C.D. Cal.
 2010).
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        Quashing this subpoena is proper even though the Rule authorizes modification. In

 determining whether subpoenas are due to be quashed, courts balance the need for discovery

 against the implicated privacy and confidentiality interests. Fadalla v. Life Auto. Prod., Inc., 258

 F.R.D. 501, 504 (M.D. Fla. 2007). Other factors relevant to this determination “are the relevance

 of the requests, the breadth of the request, the time period covered by the requests, and the

 particularity with which the documents are described. Id. Finally, “[t]he status of a person as a

 non-party is a factor that weighs against disclosure.” Id.

        The AT&T Subpoena is due to be quashed because no factor in this analysis weighs in

 favor of modification.

        The court must first assess the need for discovery, to then weigh it against the implicated

 privacy interests. In this case, there is no need for this discovery. The records sought simply do

 not have any tendency to make any fact of consequence in this action more or less probable. The

 records sought will identify the fact of Michael’s communications, their duration and the time at

 which they occurred. But the mere fact of communications between this non-party and anyone

 else does not bear on Plaintiff’s claims against the various defendants or the defenses thereto.

 Indeed. Further, to the extent that the content of any relevant text messages between Michael

 and any party is discoverable, the parties already have direct access to that information frin their

 own records and Michael already has produced what he has in his possession. Thus, there is no

 need for Michael’s cell phone records.

        In contrast, the privacy and confidentiality interests at stake here loom large. The reason

 that courts recognize this confidentiality interest is clear: phone records—even the facts of

 communications therein—may disclose the intimate details of one’s life, such as frequent phone

 calls to a psychiatrist or oncologist, calls to a mosque, synagogue or church, an medical


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 treatment center, or to a criminal defense attorney. As previously noted, federal district courts

 around the country have therefore afforded due weight to personal phone records for over twenty

 years.

          Accordingly, here, the privacy interests greatly outweigh the need for this discovery. The

 remaining factors pertinent to this analysis also support this conclusion.

          The relevance of the requests weigh against allowing them to survive, even in modified

 form, because the information sought is not relevant to the action. “[T]he scope of discovery

 allowed under Rule 45 is limited by the relevancy requirement of the federal discovery rules.”

 Jordan, 947 F.3d at 1329. “Parties may obtain discovery regarding any nonprivileged matter

 that is relevant to any party’s claim or defense and proportional to the needs of the case,” in light

 of certain considerations. Fed. R. Civ. P. 26(b)(1). The party seeking the discovery must

 demonstrate relevance. Fadalla, 258 F.R.D. at 504 (citing American Electric Power Co., Inc. v.

 United States, 191 F.R.D. 132, 136 (S.D. Ohio 1999)).

          Here, Plaintiff will not meet that burden because the fact of, the time of, and duration of

 non-party Michael’s communications since 2017 do not make any claim or defense in this action

 more likely. Nor is the AT&T Subpoena proportional to the needs of the case in light of

 considerations such as “the importance of the discovery in resolving the issues.” Fed. R. Civ. P.

 26(b)(1).    No issue will be resolved by the AT&T Subpoena, and while substantive

 communications may in fact be relevant, Michael has produced what he has. And any others

 which he does not have may be obtained from parties to the action.

          Moreover, the request is facially overbroad. It encompasses records of all incoming and

 outgoing calls, their duration, and of all incoming and outgoing text messages, and is devoid of

 any effort to tailor it to the claims and defenses at issue. Relatedly, the AT&T Subpoena does


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  not describe documents with any particularity, and instead merely requests “record[s].” Ex. 6 at

  4. Finally, and importantly, Michael’s non-party status “weighs against disclosure.” Fadalla,

  258 F.R.D. at 504. Thus, each factor relevant to the inquiry of whether a subpoena is due to be

  quashed weighs in favor of quashing it.

                                            *     *      *

         The AT&T Subpoena targets the confidential information of a non-party. Many federal

  courts have recognized that the privacy interests at stake here constitute “protected matters”

  under Fed. R. Civ. P. 45(d)(3)(A), and have therefore quashed similar subpoenas. And where—

  as here—the privacy interests are weighty, the need for discovery is absent, and each other factor

  courts consider weighs against production, a subpoena should be quashed. Pursuant to Fed. R.

  Civ. P. 45(d)(3)(A)(iii) and 26(b)(1), the AT&T Subpoena is due to be quashed.

                                            CONCLUSION

         For the reasons stated above, non-party Michael Bass respectfully requests that this Court

  quash the subpoena issued to AT&T Custodian of Records.




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  CERTIFICATE OF GOOD FAITH CONFERENCE; CONFERRED BUT UNABLE TO
  RESOLVE ISSUES PRESENTED IN THE MOTION

  Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has conferred
  with all parties who may be affected by the relief sought in this motion in a good faith effort to
  resolve the issues but has been unable to resolve the issues.


                                                        /s/ Spencer H. Silverglate
                                                        Spencer H. Silverglate


  CERTIFICATE OF GOOD FAITH CONFERENCE; UNABLE TO CONFER

  Pursuant to Local Rule 7.1(a)(3)(B), I hereby certify that counsel for the movant has made
  reasonable efforts to confer with all non-parties who may be affected by the relief sought in the
  motion but has been unable to do so. The reasonable efforts made were specifically as follows:
  a phone call to the AT&T Custodian of Records in North Palm Beach, Florida, at approximately
  9:30 am on Wednesday, October 7, 2020, and a subsequent email to GLDC@att.com, sent at
  11:53 am on the same day, which has not received a response.


                                                        /s/ Spencer H. Silverglate
                                                        Spencer H. Silverglate


         Respectfully submitted, this 14th day of October, 2020.


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                                 CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct of the foregoing was electronically filed

  on October 14, 2020 with the Clerk of Court using the CM/ECF system, and that the foregoing

  was served upon the party as listed below by email.

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  This the 14th day of October, 2020.




                                                        /s/ Spencer H. Silverglate
                                                        Spencer H. Silverglate




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